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      consistent with having made the                         IRS organizational structure following                Federal Register to the Chief Counsel for
      election.                                               the Internal Revenue Service                          Advocacy of the Small Business
         (3) Irrevocability of election. The                  Restructuring and Reform Act of 1998                  Administration for comment on their
      election described in § 1.338–6T(c)(5) is               (112 Stat. 685). These final regulations              impact on small business.
      irrevocable.                                            specify where the IRS now accepts
                                                                                                                    Drafting Information
         (4) Effective date. This paragraph                   hand-carried returns in a manner
      (e)(1)(ii)(C) applies to applicable asset               consistent with the instructions in                     The principal authors of these final
      acquisitions occurring on or after                      Notice 2003–19 (2003–1 C.B. 703) and                  regulations are Ann M. Kramer and
      September 15, 2004.                                     do not make any substantive changes to                Emly B. Berndt of the Office of the
         (e)(2) [Reserved]. For further                       a taxpayer’s ability to hand carry returns            Associate Chief Counsel (Procedure and
      guidance, see § 1.1060–1(e)(2).                         to a local IRS office.                                Administration), Administrative
                                                                 These final regulations remove the                 Provisions and Judicial Practice
      Mark E. Matthews,                                       examples under § 1.6091–4(a)(4), which                Division.
      Deputy Commissioner for Services and                    are obsolete due to various amendments
      Enforcement.                                                                                                  List of Subjects
                                                              to the Code, and add an example in
        Approved: September 8, 2004.                          their place that illustrates the                      26 CFR Part 1
      Gregory F. Jenner,                                      application of the rules in § 1.6091–                   Income taxes, Reporting and
      Acting Assistant Secretary of the Treasury.             4(a)(2) and (3) to a current provision of             recordkeeping requirements.
      [FR Doc. 04–20914 Filed 9–15–04; 8:45 am]               the Code. These final regulations also
      BILLING CODE 4830–01–U                                  include one citation correction in                    26 CFR Part 20
                                                              sect; 1.6091–1(b). In certain cases, these              Estate taxes, Reporting and
                                                              final regulations cross reference                     recordkeeping requirements.
      DEPARTMENT OF THE TREASURY                              regulations that contain references to
                                                              obsolete IRS offices or titles. Taxpayers             26 CFR Part 25
      Internal Revenue Service                                in those cases should continue to follow                Gift taxes, Reporting and
                                                              any updated instructions in other                     recordkeeping requirements.
      26 CFR Parts 1, 20, 25, 31, 40, 41, 44,                 published guidance. See, e.g., Notice
      53, 55, 156, and 301                                                                                          26 CFR Part 31
                                                              2003–19.
                                                                                                                      Employment taxes, Income taxes,
      [TD 9156]                                               Special Analyses                                      Penalties, Pensions, Railroad retirement,
      RIN 1545–BB00                                              It has been determined that these final            Reporting and recordkeeping
                                                              regulations are not a significant                     requirements, Social security,
      Place for Filing                                        regulatory action as defined in                       Unemployment compensation.
      AGENCY: Internal Revenue Service (IRS),
                                                              Executive Order 12866. Therefore, a
                                                              regulatory assessment is not required. It             26 CFR Part 40
      Treasury.
                                                              has been determined that section 553(b)                 Excise taxes, Reporting and
      ACTION: Final regulations.                                                                                    recordkeeping requirements.
                                                              of the administrative Procedure Act (5
      SUMMARY: This document contains final                   U.S.C. chapter 5) does not apply to these             26 CFR Part 41
      regulations that update obsolete                        final regulations for two reasons. First,
                                                              these final regulations reflect changes in              Excise taxes, Motor vehicles,
      references in the existing regulations                                                                        Reporting and recordkeeping
      under section 6091 of the Internal                      the organizational structure of the IRS
                                                              and are rules concerning agency                       requirements.
      Revenue Code (Code) regarding the
      place for filing hand-carried returns and               organization, procedure, or practice that             26 CFR Part 44
      other documents. These final                            are exempted from the notice and
                                                              comment requirement of 5 U.S.C. 553.                    Excise taxes, Gambling, Reporting and
      regulations reflect changes in the                                                                            recordkeeping requirements.
      organizational structure of the IRS but                 Second, for good cause, Treasury and
      do not make substantive changes to                      the IRS have determined that notice and               26 CFR Part 53
      taxpayers’ current ability to hand carry                public procedure are impracticable,
                                                                                                                      Excise taxes, Foundations,
                                                              unnecessary, and contrary to the public
      returns to a local IRS office.                                                                                Investments, Lobbying, Reporting and
                                                              interest because these final regulations
      DATES: These final regulations are                                                                            recordkeeping requirements.
                                                              do not make substantive changes to
      effective September 16, 2004.                           taxpayers’ current ability to hand carry              26 CFR Part 55
      FOR FURTHER INFORMATION CONTACT:                        returns to a local IRS office. Instead,                 Excise taxes, Investments, Reporting
      Emly B. Berndt of the Office of the                     these final regulations replace obsolete              and recordkeeping requirements.
      Associate Chief Counsel (Procedure and                  references to IRS organizations and
      Administration), Administrative                         titles with updated references that are               26 CFR Part 156
      Provisions and Judicial Practice, (202)                 sufficiently flexible to take into account              Excise tax on greenmail, Reporting
      622–4940 (not a toll-free number).                      future changes to IRS structure or                    and recordkeeping requirements.
      SUPPLEMENTARY INFORMATION:                              operations. In addition, these final
                                                              regulations reflect existing instructions             26 CFR Part 301
      Background and Explanation of                           given to taxpayers with respect to the                  Employment taxes, Estate taxes,
      Provisions                                              hand-carrying of returns. Because no                  Excise taxes, Gift taxes, Income taxes,
        This document contains final                          notice of proposed rulemaking is                      Penalties, Reporting and recordkeeping
      regulations that amend 26 CFR parts 1,                  required, the provisions of the                       requirements.
      20, 25, 31, 40, 41, 44, 53, 55, 156, and                Regulatory Flexibility Act (5 U.S.C.
                                                                                                                    Amendments to the Regulations
      301 with respect to the place for filing                chapter 6) do not apply. Pursuant to
      returns and other documents under                       section 7805(f) of the Code, these final              ■ Accordingly, 26 CFR parts 1, 20, 25,
      section 6091 of the Code. These final                   regulations were submitted four weeks                 31, 40, 41, 44, 53, 55, 156, and 301 are
      regulations reflect the changes in the                  prior to filing with the Office of the                to be amended as follows:
                                                                                                            Attachment 6 - page 1 of 5
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      PART 1—INCOME TAXES                           district referred to in paragraph (b) of this ■ 3. Paragraph (a)(2), first sentence is
                                                    section’’ and adding ‘‘principal place of amended by removing the language ‘‘a
      ■ Paragraph 1. The authority citation for     business or principal office or agency of director of’’.
      part 1 continues to read, in part, as         the corporation’’ in its place.               ■ 4. Paragraph (a)(2), first sentence is
      follows:                                      ■ 8. Paragraph (f)(1) is amended by           amended by removing the language ‘‘the
         Authority: 26 U.S.C. 7805 * * *            removing the language ‘‘the district          director’’ and adding ’’that service
                                                    director’’ and adding ‘‘any person            center’’ in its place.
      § 1.6091–1(b) [Amended]                       assigned the responsibility to receive        ■ 5. Paragraph (a)(2), first sentence is
      ■ Par. 2. Section 1.6091–1 is amended as      returns in the local Internal Revenue         amended by removing the language
      follows:                                      Service office’’ in its place.                ‘‘with him’’ and adding ‘‘there’’ in its
      ■ 1. Paragraph (b)(1) is amended by           ■ 9. Paragraph (f)(2) is amended by           place.
      removing the reference ‘‘1.6031–1’’ and       removing the language ‘‘the district          ■ 6. Paragraph (a)(2), second sentence is
      adding ‘‘1.6031(a)–1’’ in its place.          director’’ and adding ‘‘any person            amended by removing the language
      ■ 2. Paragraph (b)(5) is amended by           assigned the responsibility to receive        ‘‘director of a’’.
      removing the language ‘‘paragraph (d) of returns in the local Internal Revenue              ■ 7. Paragraph (a)(3)(i) is amended by
      § 1.6035–1 and paragraph (d) of               Service office’’ in its place.                removing the language ‘‘the director of’’.
      § 1.6035–2’’ and adding ‘‘§ 1.6035–1’’ in ■ 10. Paragraph (g) is amended by                 ■ 8. Paragraph (a)(3)(i) is amended by
      its place.                                    removing the language ‘‘the district          removing the language ‘‘district
      ■ 3. Paragraph (b)(8) is amended by           director’’ and adding ‘‘any person            director’’ and adding ‘‘members of the
      removing the language ‘‘paragraph (d) of      assigned   the  responsibility to receive     office’’ in its place.
                                                    returns in the local Internal Revenue         ■ 9. Paragraph (a)(3)(ii) is amended by
      § 1.6042–1 and’’.
      ■ 4. Paragraph (b)(11) is amended by          Service office’’ in its place.                removing the language ‘‘director of a’’.
                                                       The revisions read as follows:             ■ 10. Paragraph (a)(3)(iii) is amended by
      removing the language ‘‘paragraph (b) of
      § 1.6044–1, and’’ and the parenthetical                                                     removing the language ‘‘director of a’’.
                                                    § 1.6091–2 Place for filing income tax        ■ 11. Paragraph (a)(4) is revised.
      ‘‘(relating to returns for calendar years     returns.                                      ■ 12. Paragraph (b) is amended by
      after 1962)’’.                                   (a) Individuals, estates, and trusts. (1) removing the language ‘‘district’’ and
      ■ 5. Paragraph (b)(12) is amended by          Except as provided in paragraph (c) § f       adding ‘‘Internal Revenue Service office’’
      removing the language ‘‘(e)’’ and adding this section, income tax returns of
                                                                                                  in its place.
      ‘‘(j)(2)’’ in its place.                      individuals, estates, and trusts shall be        The revision reads as follows:
      ■ Par. 3. Section 1.6091–2 is amended as      filed with any person assigned the
      follows:                                      responsibility to receive returns at the      § 1.6091–4 Exceptional cases.
      ■ 1. The introductory text is amended by      local Internal Revenue Service office            (a) * * *
      removing the parenthetical ‘‘(relating to that serves the legal residence or                   (4) The application of paragraphs
      income tax returns required to be filed       principal place of business of the person (a)(2) and (3) of this section may be
      with the Director of International            required to make the return.                  illustrated by the following example:
      Operations)’’ and adding the                  *      *      *     *    *                       Example. The Commissioner has
      parenthetical ‘‘(relating to certain             (d) * * *                                  authorized the Internal Revenue Service
      international income tax returns)’’ in its       (1) Persons other than corporations.       Center, Philadelphia, Pennsylvania (for all
      place.                                        Returns of persons other than                 purposes except venue), to receive Form
      ■ 2. Paragraph (a)(1) is revised.                                                           1120. Except for that authorization, A, a
                                                    corporations which are filed by hand
      ■ 3. Paragraph (b) is amended by                                                            corporation with its principal place of
                                                    carrying shall be filed with any person       business in Greensboro, North Carolina, is
      removing the language ‘‘the district          assigned the responsibility to receive        required to file its Form 1120 for Year X with
      director for the internal revenue district hand-carried returns in the local                the Internal Revenue Service Center, Atlanta,
      in which is located’’ and adding ‘‘any        Internal Revenue Service office as            Georgia. In addition, A may file an election
      person assigned the responsibility to         provided in paragraph (a) of this             to defer development expenditures paid or
      receive returns in the local Internal         section.                                      incurred in Year X. Under § 1.616–2(e)(2) and
      Revenue Service office that serves’’ in its *        *      *     *    *                    applicable published guidance (in this case
      place.                                                                                      Notice 2003–19 (2003–1 C.B. 703)) that
                                                    ■ Par. 4. Section 1.6091–3 is amended by
      ■ 4. Paragraph (d)(1) is revised.                                                           statement of election must be filed with the
                                                    revising the section heading and              service center that serves A’s principal place
      ■ 5. Paragraph (d)(2), first sentence, is     introductory text to read as follows:
      amended by removing the language ‘‘the                                                      of business where A filed its income tax
                                                                                                  return. A may make that election on its
      district director (or with any person         § 1.6091–3 Filing certain international
                                                                                                  income tax return or by filing it separately.
      assigned the administrative supervision       income   tax returns.
                                                                                                  Under paragraph (a)(2) of this section, A may
      of an area, zone or local office                 The following income tax returns           send its Form 1120 to either the Internal
      constituting a permanent post of duty         shall be filed as directed in the             Revenue Service Center, Philadelphia,
      within the internal revenue district of       applicable forms and instructions:            Pennsylvania, or to the Internal Revenue
      such director)’’ and adding ‘‘any person *           *      *     *    *                    Service Center, Atlanta, Georgia. If A files its
      assigned the responsibility to receive        ■ Par. 5. Section 1.6091–4 is amended as      statement of election separately from its
      hand-carried returns in the local Internal follows:                                         income tax return for Year X, then the
      Revenue Service office’’ in its place.                                                      statement of election is not a proper
                                                    ■ 1. Paragraph heading for (a) is
                                                                                                  attachment to A’s income tax return and A
      ■ 6. Paragraph (e)(1) is amended by           amended by removing the language              should send the statement of election to the
      removing the language ‘‘internal revenue ‘‘district other than required district’’          Internal Revenue Service Center, Atlanta,
      district referred to in paragraph (a) of this and adding ‘‘office other than required       Georgia (with which A must, without regard
      section’’ and adding ‘‘legal residence or     office’’ in its place.                        to paragraph (a)(2) of this section, file its
      principal place of business of the person ■ 2. Paragraph (a)(1) is amended by               income tax return), no later than the time
      required to make the return’’ in its place. removing the language ‘‘internal revenue prescribed for filing Form 1120 for Year X
      ■ 7. Paragraph (e)(2) is amended by           district’’ and adding ‘‘Internal Revenue      (including extensions).
      removing the language ‘‘internal revenue Service office’’ in its place.                     *      *     *       *     *
                                                                                                            Attachment 6 - page 2 of 5

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      PART 20—ESTATE TAXES                                    ■ 3. Paragraph (b), second sentence is                hand-carried returns in the local Internal
                                                   amended by removing the language ‘‘the                           Revenue Service office’’ in its place.
      ■ Par. 6. The authority citation for part    district director (or with any person                            ■ 6. Paragraph (e)(2) is amended by
      20 continues to read, in part, as follows: assigned the administrative supervision                            removing the language ‘‘the district
         Authority: 26 U.S.C. 7805 * * *           of an area, zone or local office                                 director (or with any person assigned the
                                                   constituting a permanent post of duty                            administrative supervision of an area,
      § 20.6091–1 [Amended]                        within an internal revenue district of                           zone or local office constituting a
      ■ Par. 7. Section 20.6091–1 is amended       such director)’’ and adding ‘‘any person                         permanent post of duty within the
      as follows:                                  assigned the responsibility to receive                           internal revenue district of such
      ■ 1. Paragraph (a)(1) is amended by          hand-carried returns in the local Internal                       director)’’ and adding ‘‘any person
      removing the language ‘‘district’’ and       Revenue Service office’’ in its place.                           assigned the responsibility to receive
      adding ‘‘location’’ in its place.            ■ 4. Paragraph (c) is amended by                                 hand-carried returns in the local Internal
      ■ 2. Paragraph (a)(2) is amended by          removing the language ‘‘which is located                         Revenue Service office’’ in its place.
      removing the language ‘‘The district         in an internal revenue district’’ and                            ■ 7. Paragraph (e)(3)(i) is amended by
      director (or with any person assigned the adding ‘‘in the United States’’ in its                              removing the language ‘‘in any internal
      administrative supervision of an area,       place.                                                           revenue district’’ and adding ‘‘served by
      zone or local office constituting a          ■ 5. Paragraph (c) is further amended by                         a local Internal Revenue Service office’’
      permanent post of duty within an             removing the language ‘‘the Director of                          in its place.
      internal revenue district of such director) International Operations, Washington,                             ■ 8. The heading for paragraph (f) is
      in whose district’’ and adding ‘‘Any         D.C., depending upon the place’’ and                             amended by removing the language
      person assigned the responsibility to        adding ‘‘as’’ in its place.                                      ‘‘district other than required district’’
      receive returns in the local Internal                                                                         and adding ‘‘office other than required
                                                   § 25.6091–2 [Amended]
      Revenue Service office serving the                                                                            office’’ in its place.
      location in which’’ in its place.            ■ Par. 11. Section 25.6091–2 is amended
                                                                                                                    ■ 9. Paragraph (f) is amended by
      ■ 3. Paragraph (b) is amended by             by removing the language ‘‘internal                              removing the language ‘‘internal revenue
      removing the language ‘‘the Director of      revenue district’’ and adding ‘‘local                            district’’ and adding ‘‘local Internal
      International Operations, Washington,        Internal Revenue Service office’’ in its                         Revenue Service office’’ in its place.
      DC, depending upon the place’’ and           place.
                                                                                                                    ■ 10. Paragraph (g) is amended by
      adding ‘‘as’’ in its place.                                                                                   removing the language ‘‘internal revenue
                                                   PART 31—EMPLOYMENT TAXES AND
      § 20.6091–2 [Amended]                        COLLECTION OF INCOME TAX AT                                      district’’ and adding ‘‘local Internal
                                                   SOURCE                                                           Revenue Service office’’ in its place.
      ■ Par. 8. Section 20.6091–2 is amended
                                                                                                                       The revision reads as follows:
      by removing the language ‘‘internal
                                                   ■ Par. 12. The authority citation for part
      revenue district’’ and adding ‘‘local                                                                         § 31.6091–1      Place for filing returns.
                                                   31 continues to read, in part, as follows:
      Internal Revenue Service office’’ in its                                                                      *     *    *      *    *
      place.                                          Authority: 26 U.S.C. 7805 * * *
                                                                                                                      (c) Returns of taxpayers outside the
                                                   ■ Par. 13. Section 31.6091–1 is amended
                                                                                                                    United States. The return of a person
      PART 25—GIFT TAXES                           as follows:                                                      (other than a corporation) outside the
                                                   ■ 1. Paragraph (a), first sentence is
      ■ Par. 9. The authority citation for part                                                                     United States having no legal residence
                                                   amended by removing the language
      25 continues to read, in part, as follows: ‘‘The’’ and adding ‘‘Except as provided                            or principal place of business in the
         Authority: 26 U.S.C. 7805 * * *                                                                            United States, or the return of a
                                                   in paragraph (c) of this section, the’’ in
                                                                                                                    corporation having no principal place of
                                                   its place.
      § 25.6091–1 [Amended]
                                                   ■ 2. Paragraph (a) is further amended by
                                                                                                                    business or principal office or agency in
      ■ Par. 10. Section 25.6091–1 is amended      removing from the first sentence the                             the United States, shall be filed with the
      as follows:                                  language ‘‘the district director for the                         Internal Revenue Service, Philadelphia,
      ■ 1. Paragraph (a), first sentence is        internal revenue district in which is                            Pennsylvania 19255, or as otherwise
      amended by removing the language ‘‘the located’’ and adding ‘‘any person                                      directed in the applicable forms and
      district director for the district in which assigned the responsibility to receive                            instructions.
      the legal residence or principal place of    returns in the local Internal Revenue                            *     *    *      *    *
      business of the donor is located’’ and       Service office that serves’’ in its place,
      adding ‘‘any person assigned the             and removing the last sentence.                                  PART 40—EXCISE TAX PROCEDURAL
      responsibility to receive returns in the     ■ 3. Paragraph (b) is amended by
                                                                                                                    REGULATIONS
      local Internal Revenue Service office that removing the language ‘‘the district
      serves the legal residence or principal                                                                       ■ Par. 14. The authority citation for part
                                                   director for the district in which is
      place of business of the donor’’ in its                                                                       40 continues to read, in part, as follows:
                                                   located’’ and adding ‘‘any person
      place.                                       assigned the responsibility to receive                               Authority: 26 U.S.C. 7805 * * *
      ■ 2. Paragraph (a), second sentence is       returns in the local Internal Revenue                            § 40.6091–1      [Amended]
      amended by removing the language             Service office that serves’’ in its place.
      ‘‘located in an internal revenue district,   ■ 4. Paragraph (c) is revised.                                   ■ Par. 15. Section 40.6091–1 is amended
      the gift tax return shall be filed with the ■ 5. Paragraph (e)(1) is amended by                               as follows:
      district director for the internal revenue removing the language ‘‘the district                               ■ 1. Paragraph (b)(1) is amended by
      district in which the donor’s principal      director (or with any person assigned the                        removing the language ‘‘the district
      place of business is located’’ and adding administrative supervision of an area,                              director for the internal revenue district
      ‘‘served by a local Internal Revenue         zone or local office constituting a                              in which is located’’ and adding ‘‘any
      Service office, the gift tax return shall be permanent post of duty within the                                person assigned the responsibility to
      filed with any person assigned the           internal revenue district of such                                receive hand-carried returns in the local
      responsibility to receive returns in that    director)’’ and adding ‘‘any person                              Internal Revenue Service office that
      office’’ in its place.                       assigned the responsibility to receive                           serves’’ in its place.
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      ■ 2. Paragraph (b)(2) is amended by                     revenue district’’ and adding ‘‘the United             revenue district’’ and adding ‘‘local
      removing the language ‘‘the district                    States’’ in its place.                                 Internal Revenue Service office’’ in its
      director for the internal revenue district              ■ 5. Paragraph (b) is further amended by               place.
      in which is located’’ and adding ‘‘any                  removing the language ‘‘Director,
      person assigned the responsibility to                   International Operations Division,                     PART 55—EXCISE TAXES AND
      receive hand-carried returns in the local               Internal Revenue Service, Washington,                  INVESTMENTS
      Internal Revenue Service office that                    DC 20225’’ and adding ‘‘Internal
                                                              Revenue Service Center, Cincinnati,                    ■ Par. 23. The authority citation for part
      serves’’ in its place.
                                                              Ohio 45999, or as otherwise directed in                55 continues to read, in part, as follows:
      ■ 3. Paragraph (c) is amended by
      removing the language ‘‘instructions of                 the applicable forms and instructions’’ in               Authority: Secs. 6001, 6011, 6071, 6091,
      the district director requiring that filing’’           its place.                                             and 7805 * * *
                                                              ■ 6. Paragraph (d) is amended by
      and adding ‘‘forms and instructions, or                                                                        § 55.6091–1      [Amended]
      other published guidance’’ in its place.                removing the language ‘‘the district
                                                              director (or with any person assigned the              ■ Par. 24. Section 55.6091–1 is amended
      PART 41—EXCISE TAX ON USE OF                            administrative supervision of an area,                 as follows:
      CERTAIN HIGHWAY MOTOR                                   zone or local office constituting a                    ■ 1. Paragraph (a) is amended by
      VEHICLES                                                permanent post of duty within the                      removing the language ‘‘the district
                                                              internal revenue district of such                      director for the internal revenue district
      ■ Par. 16. The authority citation for part              director)’’ and adding ‘‘any person                    in which is located’’ and adding ‘‘any
      41 continues to read as follows:                        assigned the responsibility to receive                 person assigned the responsibility to
        Authority: 26 U.S.C. 7805.                            hand-carried returns in the local Internal             receive returns in the local Internal
                                                              Revenue Service office’’ in its place.                 Revenue Service office serving’’ in its
      § 41.6091–1     [Amended]                                                                                      place.
                                                              PART 53—FOUNDATION AND SIMILAR                         ■ 2. Paragraph (b), second sentence is
      ■ Par. 17. Section 41.6091–1 is amended
                                                              EXCISE TAXES                                           amended by removing the language ‘‘the
      as follows:
      ■ 1. Paragraph (b)(1) is amended by                     ■ Par. 20. The authority citation for part             district director (or with any person
      removing the language ‘‘the                             53 continues to read as follows:                       assigned the administrative supervision
      Commissioner in the internal revenue                                                                           of an area, zone or local office
                                                                   Authority: 26 U.S.C. 7805.
      district in which is located’’ and adding                                                                      constituting a permanent post of duty
      ‘‘any person assigned the responsibility                § 53.6091–1       [Amended]                            within an internal revenue district of
      to receive hand-carried returns in the                  ■ Par. 21. Section 53.6091–1 is amended                such director)’’ and adding ‘‘any person
      local Internal Revenue Service office that              as follows:                                            assigned the responsibility to receive
      serves’’ in its place.                                  ■ 1. Paragraph (a) is amended by                       hand-carried returns in the local Internal
      ■ 2. Paragraph (b)(2) is amended by          removing the language ‘‘the district                              Revenue Service office’’ in its place.
      removing the language ‘‘the                  director for the internal revenue district
                                                                                                                     § 55.6091–2      [Amended]
      Commissioner in the internal revenue         in which is located’’ and adding ‘‘any
                                                   person assigned the responsibility to                             ■ Par. 25. Section 55.6091–2 is amended
      district in which is located’’ and adding
      ‘‘any person assigned the responsibility     receive returns in the local Internal                             by removing the language ‘‘internal
      to receive hand-carried returns in the       Revenue Service office that serves’’ in its                       revenue district’’ and adding ‘‘local
      local Internal Revenue Service office that   place.                                                            Internal Revenue Service office’’ in its
      serves’’ in its place.                       ■ 2. Paragraph (b) is amended by                                  place.
                                                   removing the language ‘‘the district
      PART 44—EXCISE TAXES AND                     director for the internal revenue district                        PART 156—EXCISE TAX ON
      GAMBLING                                     in which is located’’ and adding ‘‘any                            GREENMAIL
                                                   person assigned the responsibility to                             ■ Par. 26. The authority citation for part
      ■ Par. 18. The authority citation for part
                                                   receive returns in the local Internal                             156 continues to read, in part, as follows:
      44 continues to read, in part, as follows: Revenue Service office that serves’’ in its
         Authority: 26 U.S.C. 7805 * * *                                                                               Authority: Secs. 6001, 6011, 6061, 6071,
                                                   place.                                                            6091, 6161, and 7805 * * *
                                                   ■ 3. Paragraph (c), second sentence is
      § 44.6091–1 [Amended]                                                                                          ■ Par. 27. Section 156.6091–1 is
                                                   amended by removing the language ‘‘the
      ■ Par. 19. Section 44.6091–1 is amended      district director (or with any person                             amended as follows:
      as follows:                                  assigned the administrative supervision                           ■ 1. Paragraph (a) is amended by
      ■ 1. Paragraph (a), first sentence is        of an area, zone or local office                                  removing the language ‘‘the district
      amended by removing the language ‘‘A’’ constituting a permanent post of duty                                   director for the internal revenue district
      and adding ‘‘Except as provided in           within the internal revenue district of                           in which is located’’ and adding ‘‘any
      paragraph (b) of this section, a’’ in its    such director)’’ and adding ‘‘any person                          person assigned the responsibility to
      place.                                       assigned the responsibility to receive                            receive returns in the local Internal
      ■ 2. Paragraph (a), first sentence is        hand-carried returns in the local Internal                        Revenue Service office that serves’’ in its
      further amended by removing the              Revenue Service office’’ in its place.                            place.
      language ‘‘the district director of internal ■ 4. Paragraph (d) is amended by                                  ■ 2. Paragraph (b) is amended by
      revenue for the district in which is         removing the language ‘‘the district                              removing the language ‘‘the district
      located’’ and adding ‘‘any person            director’’ and adding ‘‘any person                                director for the internal revenue district
      assigned the responsibility to receive       assigned the responsibility to receive                            in which is located’’ and adding ‘‘any
      returns in the local Internal Revenue        returns in the local Internal Revenue                             person assigned the responsibility to
      Service office that serves’’ in its place.   Service office’’ in its place.                                    receive returns in the local Internal
      ■ 3. Paragraph (a) is amended by                                                                               Revenue Service office that serves’’ in its
      removing the second sentence.                § 53.6091–2 [Amended]                                             place.
      ■ 4. Paragraph (b) is amended by             ■ Par. 22. Section 53.6091–2 is amended                           ■ 3. Paragraph (c) is amended by
      removing the language ‘‘any internal         by removing the language ‘‘internal                               removing the language ‘‘the district
                                                                                                                Attachment 6 - page 4 of 5
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      director for the internal revenue district              ■ 2. Paragraph (b)(1), first sentence is              DEPARTMENT OF HOMELAND
      in which is located’’ and adding ‘‘any      further amended by removing the                                   SECURITY
      person assigned the responsibility to       language ‘‘internal revenue district in
      receive returns in the local Internal       which was’’ and adding ‘‘local Internal                           Coast Guard
      Revenue Service office that serves’’ in its Revenue Service office serving’’ in its
      place.                                      place.                                                            33 CFR Part 117
      ■ 4. Paragraph (d) is revised.
                                                  ■ 3. Paragraph (b)(1), last sentence is                           [CGD08–04–024]
      ■ 5. Paragraph (e), second sentence is
      amended by removing the language ‘‘the      amended by removing the language ‘‘(i)                            RIN 1625–AA09
      district director (or with any person       with the Office of International
      assigned the administrative supervision     Operations, by hand carrying to such                              Drawbridge Operation Regulation;
      of an area, zone or local office            Office, or (ii) with the office of the                            Bayou Lafourche, Clotilda, LA
      constituting a permanent post of duty       assistant regional commissioner (alcohol                          AGENCY: Coast Guard, DHS.
      within an internal revenue district of      and tobacco tax) by hand carrying to
                                                                                                                    ACTION: Final rule.
      such director)’’ and adding ‘‘any person    such office’’ and adding in its place the
      assigned the responsibility to receive      language ‘‘with an office of the Alcohol                          SUMMARY: The Coast Guard is issuing
      hand-carried returns in the local Internal  and Tobacco Tax and Trade Bureau, by                              regulations for the operation of the draw
      Revenue Service office’’ in its place.      hand carrying as specified in regulations                         of the new vertical lift span bridge on
        The revision reads as follows:            of the Alcohol and Tobacco Tax and                                State Route LA 654 across Bayou
                                                  Trade Bureau, see, 27 CFR chapter I,                              Lafourche, mile 53.2 at Clotilda,
      § 156.6091–1 Place for filing chapter 54                                                                      Lafourche Parish, Louisiana. This final
      (Greenmail) tax returns.                    subchapter F’’.
                                                                                                                    rule establishes a four-hour notice
      *      *     *     *     *                  ■ 4. Paragraph (b)(2) is amended by
                                                                                                                    requirement for opening the draw of the
         (d) Returns of taxpayers outside the     removing the language ‘‘the district
                                                                                                                    bridge.
      United States. The return of a person       director (or with any person assigned the
                                                                                                                    DATES: This rule is effective September
      (other than a partnership or a              administrative supervision of an area,
                                                                                                                    16, 2004.
      corporation) outside the United States      zone or local office constituting a
                                                                                                                    ADDRESSES: Documents referred to in
      having no legal residence or principal      permanent post of duty within the
                                                                                                                    this rule are available for inspection or
      place of business or agency in the          internal revenue district of such director)
                                                                                                                    copying at the office of the Eighth Coast
      United States, or the return of a           for the internal revenue district in which
                                                                                                                    Guard District, Bridge Administration
      partnership or a corporation having no      is located’’ and adding ‘‘any person                              Branch, 500 Poydras Street, New
      principal place of business or principal    assigned the responsibility to receive                            Orleans, Louisiana 70130–3310,
      office or agency in the United States,      hand-carried returns in the local Internal                        between 7 a.m. and 3 p.m., Monday
      shall be filed with the Internal Revenue    Revenue Service office that serves’’ in its                       through Friday, except Federal holidays.
      Service, Philadelphia, PA 19255, or as      place.                                                            The telephone number is (504) 589–
      otherwise directed in the applicable
                                                  ■ 5. Paragraph (b)(2), last sentence is                           2965. The Eighth District Bridge
      forms and instructions.
                                                  amended by removing the language ‘‘(i)                            Administration Branch maintains the
      *      *     *     *     *                                                                                    public docket for this rulemaking.
                                                  with the Office of International
      § 156.6091–2 [Amended]                      Operations, by hand carrying to such                              FOR FURTHER INFORMATION CONTACT: Phil
      ■ Par. 28. Section 156.6091–2 is            Office, or (ii) with the office of the                            Johnson, Bridge Administration Branch,
      amended by removing the language            assistant regional commissioner (alcohol                          at (504) 589–2965.
      ‘‘with any internal revenue district’’ and and tobacco tax) by hand carrying to                               SUPPLEMENTARY INFORMATION:
      adding ‘‘in any local Internal Revenue      such office’’ and adding in its place the                         Good Cause for Not Publishing an
      Service office’’ in its place.              language ‘‘with an office of the Alcohol                          NPRM
                                                  and Tobacco Tax and Trade Bureau, by
      PART 301—PROCEDURE AND                      hand carrying as specified in regulations                           We did not publish a notice of
      ADMINISTRATION                              of the Alcohol and Tobacco Tax and                                proposed rulemaking (NPRM) for this
                                                  Trade Bureau, see, 27 CFR chapter I,                              regulation. Under 5 U.S.C. 553(b)(B), the
      ■ Par. 29. The authority citation for part                                                                    Coast Guard finds that good cause exists
                                                  subchapter F’’.
      301 continues to read, in part, as follows:                                                                   for not publishing an NPRM. This final
                                                  ■ 6. Paragraph (c) is amended by                                  rule establishes the same operating
         Authority: 26 U.S.C. 7805 * * *
                                                  removing the language ‘‘district                                  requirements for the new State Route
      § 301.6091–1 [Amended]                      director’’ and adding ‘‘any person                                LA 654 vertical lift span bridge that
      ■ Par. 30. Section 301.6091–1 is            assigned the responsibility to receive                            were in effect for the old bridge that is
      amended as follows:                         hand-carried returns in the local Internal                        being removed. The new bridge would
      ■ 1. Paragraph (b)(1), first sentence is    Revenue Service office’’ in its place.                            normally be required to open on signal
      amended by removing the language ‘‘the                                                                        as per 33 CFR 117.5. Since by design the
                                                  Mark E. Matthews,
      district director (or with any person                                                                         old pontoon span bridge had to be
      assigned the administrative supervision Deputy Commissioner for Services and                                  opened for all waterway users and the
      of an area, zone or local office            Enforcement.                                                      new vertical lift bridge has to be opened
      constituting a permanent post of duty          Approved: July 13, 2004.                                       for all vessels except very small
      within the internal revenue district of     Gregory F. Jenner,                                                pleasure craft to pass, the establishment
      such director) for the internal revenue     Acting Assistant Secretary of the Treasury.                       of this regulation does not place more
      district in which is located’’ and adding [FR Doc. 04–19478 Filed 9–15–04; 8:45 am]                           constraint on the waterway users than
      ‘‘any person assigned the responsibility                                                                      the old regulation governing the old
                                                  BILLING CODE 4830–01–P
      to receive hand-carried returns in the                                                                        pontoon span bridge. Furthermore, two
      local Internal Revenue Service office that                                                                    drawbridges, which cross Bayou
      serves’’ in its place.                                                                                        Lafourche directly upstream of the State
                                                                                                              Attachment 6 - page 5 of 5
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